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                                                                     Monday, 25 June, 2018 04:00:55 PM
                                                                          Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION

HYE-YOUNG PARK, a/k/a LISA PARK,           )
                                           )
                     Plaintiff,            )
                                           )
vs.                                        )       Case No. 15-cv-2136
                                           )
MICHAEL T. HUDSON, individually,           )
HEIDI JOHNSON, individually,               )
CHARLES SECOLSKY, individually,            )
ROBERT STAKE, individually,                )
and THE BOARD OF TRUSTEES OF               )
THE UNIVERSITY OF ILLINOIS,                )
                                           )
                     Defendants.           )

                              DEFENDANT ROBERT STAKE’S
                                  MOTIONS IN LIMINE

       NOW COMES defendant, ROBERT STAKE, by and through his attorneys, Thomas,

Mamer & Haughey, LLP, and for his MOTIONS IN LIMINE, states as follows:

                            Defendant’s First Motion in Limine

       Any testimony, evidence, argument that defendant ROBERT STAKE (hereinafter

“Stake”) is responsible for any alleged tortious behavior committed against plaintiff by

defendant CHARLES SECOLSKY (hereinafter “Secolsky”).

       None of the Counts against Secolsky factually involve Stake in any way. The findings

of the Court in its order on the competing motions for summary judgment sets forth the

relevant facts. Doc. #162. At all times relevant to this case, Stake was a professor emeritus

with the University of Illinois, and the Director of the Center for Instructional Research and

Curriculum Evaluation (“CIRCE”). Doc. #162, p. 4. At all times relevant to this case, Secolsky

was not employed by, nor did he have an appointment with the University of Illinois. Doc.


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#162, p. 5, 13. Plaintiff, LISA PARK (hereinafter “Park”) first met Secolsky in the fall of 2013.

Doc. #162, p. 6. Secolsky and Park developed what Park referred to as an academic

relationship. Doc. #162, p. 6. At the time of their meeting, Park was writing a book, and she

sent Secolsky sections of her book for review. Doc. #162, p. 6. In early 2014, Secolsky

offered Park a job as a qualitative researcher, which she accepted. Doc. #162, p.10. An

employment contract was entered between Park and Secolsky in the summer of 2014. Id.

Park was named an employee of Secolsky’s company, “Resources in Education for Urban

Schools, Inc.” Id.

       Count I of the complaint is a battery claim arising out of a January 24, 2014 incident

that occurred in Secolsky’s apartment. Doc. #162, p. 7; Secolsky Deposition, pg. 111. Count

II is an assault claim that arises out of an incident whereby Secolsky pointed to his cheek,

and asked Park to kiss it. Doc. #162, p. 25. Counts III and IV, brought pursuant to the Illinois

hate crime and gender-related violence statutes respectively, arise out of the January 24,

2014 and the pointing to the cheek incidents. Count V is a false imprisonment claim arising

out of the January 24, 2014 incident. Counts VI and VII assert theories of recovery based

upon Park’s employment by Secolsky. Count VIII is an intentional infliction of emotional

distress claim alleging that Secolsky mishandled a visa application, harassed her by

telephone, and committed the torts of assault, battery, and false imprisonment. Count IX is

a claim brought under 42 U.S.C. §1983 asserting due process violations.

       There is no evidence that Secolsky’s alleged conduct had anything to do with Stake,

or Stake’s position with the University of Illinois. Rather, by the middle of July 2014, Park

had signed an employment contract with Secolsky, and was working with him as a private

employee. Doc. #162, p. 46-47. Stake had no power over this relationship.


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       Moreover, Stake is not vicariously liable for any of the claims asserted against

Secolsky as a matter of law. With respect to the state law claims, Counts I-V are based upon

intentional torts. The general rule is that an employer may not be held vicariously liable for

an employee’s intentional conduct if it occurred outside of employment or was solely in

furtherance of the employee’s own interests. Mueller by Math v. Community Consol. School

Dist. 54, 287 Ill.App.3d 337, 345,678 N.E.2d 660, 666 (1st Dist. 1997). With respect to the

counts brought under 42 U.S.C. §1981 (Count VII) and 42 U.S.C. §1983 (Count IX),

respondeat superior cannot be used as a basis for holding Stake liable for the conduct of

Secolsky. See Jett v. Dallas School Dist., 491 U.S. 701 (1989); Monell v. Dept. of Social Services

of City of New York, 436 U.S. 658 (1978)

                            Defendant’s Second Motion in Limine

       Any testimony, evidence, or argument that Stake is responsible for any alleged

physical injury to the Plaintiff.

       There is no evidence that the Plaintiff suffered physical injury due to Stake’s actions.

Neither testimony, nor evidence exists to support a claim that the Plaintiff suffered physical

injury from either Stake’s alleged assault, or the battery. Specifically, there are no medical

records pertaining to treatment the Plaintiff received due to the battery. Nor is there

testimony that the Plaintiff suffered physical pain or injury due to the battery. Instead, the

evidence is that the Plaintiff was not physically injured by Stake’s action. Doc. #162, p. 4-5.

                                    Defendant’s Third Motion in Limine

       Any testimony, evidence, or argument that Stake is responsible for any alleged

economic injury to the Plaintiff.




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       There is no evidence that the Plaintiff suffered economic injury due to Stake’s

actions. At the time of the alleged assaults and battery, the Plaintiff was in the process of

seeking employment with other universities. Neither testimony, nor evidence exists to

support a claim that the Plaintiff’s employment search was affected by Stake’s alleged

assault, or the battery. Instead, the evidence shows that Stake continued to assist the

Plaintiff in attempting to further her career following these alleged incidents. Doc. #162, p.

5. Simply put, there is no evidence that the Plaintiff suffered economic injury due to Stake’s

alleged assault, or battery.

                               Defendant’s Fourth Motion in Limine

       Any testimony, evidence, or argument that Stake is responsible for any alleged

psychological treatment sought by the Plaintiff.

       There is no evidence that the Plaintiff suffered psychological injury due to Stake’s

actions. Neither testimony, nor evidence exists to support a claim that the Plaintiff suffered

psychological injury from either Stake’s alleged assault, or the battery. Doc. # 162, p. 5.

Instead, the evidence shows that any psychological injury suffered by the Plaintiff was

solely the result of Secolsky’s conduct. The medical records show that the Plaintiff did not

seek psychological assistance until April 2014, well after the kiss from Stake – occurring

October 2013 – that formed the basis of the battery count. The records from her

psychological appointments also reveal that Stake’s conduct was never referred to as a

cause of her psychological injury. Instead, the Plaintiff’s psychological condition was

attributable to Secolsky’s conduct.




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                               Defendant’s Fifth Motion in Limine

       Any testimony, evidence, or argument relating to the “Doe-1 information” that was

subject of Plaintiff’s Motion for Leave to Reopen Discovery and to Extend Time. Doc. #191.

       The Court denied the Plaintiff’s Motion, agreeing that the “Doe-1 information” was

not relevant to any pending issue in the case. Aside from being irrelevant, the “Doe-1

information” would be highly inflammatory and prejudicial, with the prejudicial effect

severely outweighing any possible probative value.



                                                  Respectfully submitted,


                                                  Robert Stake, Defendant

                                          By:     s/ William J. Brinkmann
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                                  CERTIFICATE OF SERVICE
       I hereby certify that on June 25, 2018, I electronically filed the foregoing instrument
with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to all registered parties. On the same day, a true and correct copy of the foregoing
instrument was placed in the United States Mail, first-class postage properly prepaid, and
addressed to:
                      Charles Secolsky
                      126 Rolling Meadows Road
                      Middletown, NY 10940



                                           /s/ William J. Brinkmann
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